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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE TESLA, INC. SECURITIES                       Case No. 18-cv-04865-EMC
                                         LITIGATION
                                   8
                                                                                            ORDER DIRECTING PLAINTIFF TO
                                   9                                                        RESPOND TO DEFENDANTS’
                                                                                            EMERGENCY MOTION TO COMPEL
                                  10                                                        SUPPLEMENTAL EXPERT REPORTS
                                                                                            AND DEPOSITIONS
                                  11
                                                                                            Docket No. 515
                                  12
Northern District of California
 United States District Court




                                  13          Defendants have filed an emergency motion to compel supplemental expert reports and

                                  14   depositions from two of Plaintiff’s experts. See Docket No. 515. To the extent that Plaintiff seeks

                                  15   to change a legal theory with respect to but-for pricing with less than a month before trial well

                                  16   after the expert disclosure deadline, Plaintiff shall explain, inter alia, why such amendment is not

                                  17   barred by Rule 16. Further, with respect to the use of actual market data for options pricing, as

                                  18   opposed to the theoretical prices discussed at the last hearing, Plaintiff shall explain why it should

                                  19   not be required to provide discovery and file a supplemental report thereon in advance of trial.

                                  20   Plaintiff is hereby ORDERED to file a response to Defendants’ motion by 12:00 Noon on

                                  21   December 22, 2022.

                                  22

                                  23          IT IS SO ORDERED.

                                  24

                                  25   Dated: December 21, 2022

                                  26                                                    ______________________________________
                                                                                         EDWARD M. CHEN
                                  27                                                     United States District Judge
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